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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA


                v.                                                     17-cr-10212-GAO


JUAN ARTILES-TAVERAS


             JUAN ARTILES-TAVERAS’ SENTENCING MEMORANDUM

        Mr. Juan Artiles Taveras is a very respectful person. He is willing to do whatever is
        asked of him at any time of day…Since the pandemic, Detainee Juan Artiles Taveras has
        worked long hours and at times 7 days a week Day & Night in facility to ensure that
        cleaning and sanitation is maintained during this pandemic. He is a great hard worker.

        -Unit Manager Robert Gaul, Wyatt Detention Facility.1

        Juan Artiles Taveras is not what his worst decisions suggest. He has been a

lawful permanent resident since following his mother to the United States 30 years ago.

He has always had a job and has been in the same relationship for decades, raising five

children.2 He has never been convicted of a crime. But he committed the crime alleged.

He admitted that the day of his arrest; he admitted it before this Court, too.3 Now he

seeks to show the Court that his conduct during the summer of 2017 does not define

him.

        As a consequence of his crimes, Mr. Artiles Taveras has already served two

difficult years in prison, will serve more time in federal prison, and will be deported to


1 See Exhibit 1, Letter from Unit Manager. Typographical errors in original.
2 His oldest, Anthony, is 22, followed closely by Jonathan (21) and Velmarie (19); his twins Jeremiah and
Alia are just 5 years old.
3 See Exhibit 2; PSR ¶ 24.
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a country his has not called home since childhood. He will be at least 50 years-old when

released. For him and his family, this outcome is catastrophic and heartbreaking. In

consideration of his decades of law-abiding behavior, his acceptance of responsibility,

the empirical information about the efficacy of long sentences for non-violent drug

offenders, and the § 3553 sentencing factors, Mr. Artiles-Taveras asks this Court to

sentence him to a total of 37 months4 of incarceration and 18 months of supervised

release.5



                                  Guideline Range Calculations

        While the guidelines themselves are not mandatory, every sentence must begin

with correctly calculating the guideline range and holistically considering a number of

factors. Gall v. United States, 552 U.S. 38, 49, 50 n.6 (2007); see also Rosales-Mireles v. United

States, 585 US __, 138 S. Ct. 1897, 1903-04, 1908 (2018).

        Probation has calculated Mr. Artiles Taveras’s Total Offense Level as 30, with a

Criminal History Score of zero and a resulting Criminal History Category of I. His

guideline range is thus 97 to 121 months. For several reasons, this score and range

substantially overstate Mr. Artiles Taveras’ conduct and the necessary punishment.



4
  According to the United States Sentencing Commission, the median sentence for drug trafficking in the
District of Massachusetts for 2021 was 37 months. See
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
statistics/state-district-circuit/2021/ma21.pdf. Last accessed June 23, 2022.
5 This sentence, which must include a separate period of incarceration for the crime of Contempt, can

include any appropriate attribution to that count (three). Additionally, the defendant is amenable to
supervised release thereafter, notwithstanding U.S.S.G. §§5D1.1(c): “The court ordinarily should not
impose a term of supervised release in a case in which supervised release is not required by statute and
the defendant is a deportable alien who likely will be deported after imprisonment.”
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        First, Mr. Artiles Taveras held a small, tangential role in this offense. The

Homeland Security Investigations (HSI) investigation began years earlier and related to

an alleged method of drug importation from the Dominican Republic to Boston’s Logan

Airport.6 Mr. Artiles Taveras is not alleged to have organized, arranged, or even

participated in the creation of this scheme.7 His single-act drug offense was that of

courier on June 2, 2017.8 This is confirmed by the reality that Mr. Artiles Taveras has not

lived in the Dominican since childhood and has never lived in Boston.9 He did not

appear in the years of this investigation’s many attempts to complete a transaction.10 He

was not an active member of this conspiracy. Thus, the drug quantity has no nexus to

his decisions, role, or underlying criminal intent.

        Second, Mr. Artiles Taveras did not negotiate or even know the quantity of

cocaine that was agreed upon.11 Mr. Artiles Taveras never actually saw the drugs, but

understood he was to pick up two kilograms of cocaine. After his arrest, he was

mirandized, waived Miranda, and admitted to his role—that very night—to pick up two

kilos of cocaine.12 The guideline range is based on the six kilograms that agents found in

the shipment and Mr. Artiles Taveras agreed that he was legally responsible for that

amount. That said, his absence from negotiation and attempts (years long), his belief

that the quantity was lower (the Base Offense Level would fall 4 points based on the



6
  PSR ¶¶ 9-10.
7 The PSR (¶¶ 9-21) contains a detailed historical investigation and operation. Mr. Artiles Taveras is never
mentioned until he arrived a courier on his date of arrest.
8 PSR ¶ ¶ 9-21.
9 PSR ¶¶ 54-57
10 PSR ¶ 8-21
11 PSR ¶23.
12 Exhibit 2; PSR ¶ 24.
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difference),13 and the isolation of this single act, suggest that a score of 30 and a

guideline range of at least 8 years drastically overstates his culpability.

        Third, Mr. Taveras must accept the consequences of his flight. The Offense

Conduct Score adds a total of five points for this conduct, which is substantial.14 But the

context of his flight matters. As detailed in part in attached affidavits, Mr. Artiles

Taveras strived for years to own a home for his family. He realized that dream when he

bought the house at 1001 Clifton Street, Forked River, New Jersey.15 Unfortunately, the

mere seven days he was held in custody before being released was too much for his

employer of nearly a decade and he was fired. His mortgage payments continued, as

did the need to support his large family. His pending criminal charges made new

employment extremely difficult to obtain. The likelihood of incarceration and

deportation were near certain and financial ruin for his family was coming even faster.

And that’s when Mr. Artiles Taveras made the ill-fated, regrettable decision to flee to

Canada so that he could work and send money home to his family to ensure they were

supported. After his arrest there on the instant warrant, even that hope evaporated. He

sold his family home to his brother. It was gone, another tragic consequence of his

decisions. Those consequences are real, and this Court should consider the five-point

enhancement in the context of the collateral losses he sought to avoid and eventually

suffered.16



13 See 2D1.1(c)(7), attributing 26 base score for cocaine amount between 2 and 3.5 kilograms. This would
lower his guideline range to 63-78 months.
14 PSR ¶¶ 38-39.
15 PSR ¶ 78.
16 Had he not fled, the drug crime alone would yield a score of 25 and a resulting guideline range of 57-71

months.
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                                         A Sufficient Sentence

        To balance the cold math of the guidelines, the Sentencing Commission imbued

Section 3553 with a parsimony principle, “instructing district courts to ‘impose a

sentence sufficient, but not greater than necessary,’ to accomplish the goals of

sentencing.”17 Although the statute requires the Court to consider guideline ranges in

sentencing, it also “‘permits the court to tailor the sentence in light of other statutory

concerns as well.’”18

                                          The § 3553(a) Factors

        In imposing “a sentence sufficient, but not greater than necessary, to comply

with the purposes” of sentencing, the Court must consider the need for the sentence

imposed (A) to reflect the seriousness of the offense, to promote respect for the law, and

to provide just punishment for the offense; (B) to afford adequate deterrence to criminal

conduct; (C) to protect the public from further crimes of the defendant; and (D) to

provide the defendant with needed educational or vocational training, medical care or

other correctional treatment in the most effective manner. See 18 U.S.C. § 3553(a). The

Court must also consider the nature and circumstances of the offense, the history and

characteristics of the defendant, the kinds of sentences available, and the need to avoid

unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct.19




17 Kimbrough v. United States, 552 U.S. 85, 101 (2007) (quoting 18 U.S.C. § 3553(a)).
18 Id. (quoting United States v. Booker, 543 U.S. 220, 245–46 (2005)).
19 See 18 U.S.C. § 3553(a); Kimbrough, 552 U.S. at 101.
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        Mr. Artiles-Taveras’s personal characteristics reveal his true nature: a family man
        who works tirelessly for the bright future he envisions for his children.

        When considering the history and characteristics of the defendant under §

3553(a)(1), courts often cite characteristics like being a hard worker and dedicated

parent to impose a lower sentence than the guidelines would have previously

mandated.20

        Mr. Artiles Taveras lawfully immigrated to this country 30 years ago to reunite

with his mother. Now, he has quite the full house with his wife and their 5 children, the

oldest college-aged and the youngest in kindergarten.21 For the near decade ending

with his arrest, he was a machinist at Nitto Automotive in New Jersey, only losing that

job because he was detained pretrial on this case.22

        A sentence of 37 months will allow the Artiles Taveras family to be reunited

sooner, giving Mr. Artiles Taveras an opportunity to provide for his family and help

raise his children, even after his deportation. A shorter sentence would also accomplish

an important goal that Mr. Artiles Taveras and the government share: with the sooner

return that a shorter sentence will bring, Mr. Artiles Taveras may also be able to

ameliorate some of the vicious effects that a father’s absence can wreak:

        Children of incarcerated parents, whether it is their mother or father who is imprisoned,
        will likely experience emotional, physical, mental and behavioral problems. In one study,
        the sons of incarcerated fathers exhibited aggressive, delinquent and criminal behavior
        shortly after their father’s incarceration. In addition to behavioral problems, many of
        these children’s school performance declined rapidly upon incarceration of their fathers.
        This reaction to their fathers’ incarceration is likely because fathers normally assume



20 See United States v. DiMattina, 885 F. Supp. 2d 572, 581–82 (E.D.N.Y. 2012).
21 His twins, Aleah and Jeremiah, were conceived via InVitro after years of trying.
22 PSR ¶ 77.
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          disciplinarian duties. . . . Regardless of the sex of the child, research shows that the
          children of an incarcerated father are at risk of continuing the cycle of criminality.23

          This is more than an abstract consideration. According to January 2022 Intensive

Behavioral Health Services Assessment for [his 5-year-old twins], “the school behaviors

oppositional breaking things in the school, her father has been in jail, has contact with

him via telephone, but she continues to ask him to come home.”24 Concluding they

suffer from Adjustment Disorder based on the absence of a previously very involved

father:

                  [5 year old daughter] does not present a profile that indicates any major concern
          in relationship to any traumatic experience, at the beginning of the school year she was
          more aware of her father’s absence, resulting in her getting more angry and she had
          difficulty expressing these emotions as a result of her experience she was more aggressive
          and destructive. She appears to have settle down, however once she realizes that her
          father will not come back she may experience some difficulty…she is slowly getting used
          to the idea that she will never she her father again at home…she maintains hope that her
          father will return once he is free from jail, she does not know that likely he will be
          deported to his home country. The focus of this particular case is to provide [her] the tools
          to deal with the lost of her father due to jail. She will be able to visit him in his home
          country once he is deported.”
                  IBHS Assessment, January 2022.25

          Correspondingly, a below-range sentence leaves open the possibility that his

children, while still at an impressionable age, will see their father free and striving to

build a better life and to prove that rehabilitation and redemption are possible. A higher

sentence, on the other hand, would mean that his twins would be entering middle

school or even high school when their father is finally free. The effect of their father’s




23 Tiffany J. Jones, Neglected By The System: A Call For Equal Treatment For Incarcerated Fathers And
Their Children – Will Father Absenteeism Perpetuate The Cycle Of Criminality?, 39 Cal. W. L. Rev. 87, 99
(Fall 2002).
24
   See Exhibit 2, IBHS reports for each twin, page 1 of 20. Typographical errors in original.
25
   See id. Typographical errors in original.
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incarceration during the rest of their childhood, while profoundly visited upon the

twins, will unfortunately not be limited to them:

        Society ultimately bears the burden of familial incarceration because inmates separated
        from their families have a higher rate of recidivism, their children have a greater
        likelihood of becoming criminals themselves, and families often become increasingly
        unstable. Many of these children experience behavioral and educational problems and do
        not receive the attention they need to discourage them from committing delinquent acts.
        Society then falls victim to these children's crimes and bears the financial and social costs
        of supporting them.26

Thus, § 3553(5) urges a lower sentence for Mr. Artiles Taveras because it promotes

family unity in line with stated public policy goals.27 It is also appropriate from a

societal standpoint and from the perspective of minimizing the detriment to his

children and preventing the cycle of crime and poverty from plaguing his family.

        Mr. Artiles Taveras is now 47 years old, looking towards rebuilding his life as

provider and family leader. As a middle-aged offender who will spend time in federal

prison, his likelihood of reconviction is just 15.9%.28 On balance, his personal history

and characteristics justify granting a low sentence.

        Mr. Artiles Taveras’s absence of a criminal history and personal characteristics
        demonstrate that he poses virtually no threat to the community with little need
        for deterrence.




26
   Tiffany J. Jones, Neglected By The System: A Call For Equal Treatment For Incarcerated Fathers And Their
Children – Will Father Absenteeism Perpetuate The Cycle Of Criminality?, 39 Cal. W. L. Rev. 87, 99 (Fall 2002)
(internal citations and quotations omitted).
27
   See U.S.S.G. § 5H1.6, note B.
28
   Across all ages, federal prisoners had a much lower recidivism rate than state prisoners who also were
released in the same year and tracked by the Bureau of Justice Statistics. (Page 3). Fewer than one in eight
federal prisoners who are released between the ages of 50 and 54 will be reconvicted. If Mr. Artiles-
Taveras is sentenced to 37 months, she will be in that age group when released. (Figure 14) See United
States Sentencing Commission, The Effects of Aging on Recidivism Among Federal Offenders (Dec. 2017)
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2017/20171207_Recidivism-Age.pdf (last accessed September 17, 2021).
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        Nearly half a century of law-abiding behavior and a determination to provide for

his family both counsel in favor of a lower sentence for Mr. Artiles Taveras.29 Courts

have also used statistics regarding recidivism rates for first time offenders like Mr.

Artiles Taveras to justify under § 3553(a)(2)(B) the satisfactory deterrent effect of a

shorter sentence.30 A defendant’s stated commitment to rehabilitation is an appropriate

consideration under § 3553(a)(2)(C), and a studied belief in that statement can justify a

lower sentence based on a defendant’s projected lack of danger to the community.31 As

detailed below, even with limited access to programs, Mr. Taveras has completed

nearly a dozen programs or self-improvement exercises while at Wyatt.32 All of this,

while working “long hours and at times 7 days a week Day & Night in facility to ensure

that cleaning and sanitation is maintained during this pandemic.”33

        A sentence of 37 months is appropriately parsimonious in line with § 3553(a).

Both Mr. Artiles Taveras’s age at release and status as a first-time offender with no

criminal history render him unlikely on a statistical level to recidivate. This is especially

true when these low risk factors are combined with his emphasis on regaining lawful

employment to support his family. Mr. Artiles Taveras does not need the negative

incentive of multiple years in prison to appreciate the wrongfulness and import of his

conduct or to motivate reform.


29 See United States v. Ramirez, 221 F. App'x 883, 887–88 (11th Cir. 2007) (the sentencing court considered
“devotion to his family, work history, and lack of a criminal history” in giving a bottom-of-the-range
sentence).
30 See United States v. Watt, 707 F. Supp. 2d 149, 158 (D. Mass. 2010).
31 See United States v. Martin, 520 F.3d 87, 93–94 (1st Cir. 2008) (“A founded prospect of meaningful

rehabilitation remains a permissible basis for a variant sentence under the now-advisory guidelines.”)
32 Exhibit 9, including nearly a dozen certificates of completion or records ofw achievement while

detained.
33
   Exhibit 1.
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        Mr. Artiles Taveras is a hard-working family man who acknowledges his

mistakes and has already begun the rehabilitative process.34 He is committed to

supporting his family and abiding by the law to be a productive member of society

upon his release. Mr. Artiles Taveras has a strong support system, as evidenced by the

letters written by his family and friends, including his wife, mother, sister-in-law, and

step-children. His good conduct and hard work during his detention are spoken about

in the letters from the both the warden and unit manager at Wyatt Detention Facility.

        Mr. Artiles Taveras’s family, like him, acknowledge and understand that he

made a mistake. His wife, Maria, describes her husband as a good father and an

excellent husband, whom she and her children desperately love, miss, and need

greatly.35 His sister-in-law speaks of how dedicated Mr. Artiles Taveras is to his entire

family, that he is a man who serves God who deserves a “second opportunity” because

he is a “good man” who takes care of his children and nephews, who view him as their

father.36 His friend, Francisca Mendez, tells of his “kind heart”and how he is “an

admirable and devoted father who gives everything for his children” and loves his

family and friends.37 His step-son, Jonathan, wrote to explain that Mr. Artiles Taveras is

an “amazing step-dad” and the only father figure in his life, who would take him to

school every morning, watch novelas and play baseball with him, and who has “loved

me more than I can ever imagine.”38 Jonathan describes the pain he has felt since Mr.




34 Exhibit 9.
35 See Exhibit 4, letter from Maria Santana, wife of Juan Artiles Taveras (May 26, 2022).
36
   See Exhibit 5, letter from Santa Isabel Santana, sister-in-law of Juan Artiles Taveras (May 2, 2022).
37
   See Exhibit 6, letter from Francisca Mendez, friend of Juan Artiles Taveras (Mar. 14, 2022).
38
   See Exhibit 7, letter from Jonathan Catala, step-son of Juan Artiles Taveras (May 23, 2022).
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Artiles Taveras has been detained and how he misses “the most important person in my

life,” whom he admires for all of the sacrifices he makes for his family.39 Mr. Artiles

Taveras’s step-daughter, Velmarie, writes that he “stepped up to be the father that I

needed,” and is “the perfect father figure,” taking time to bond with her, cooking with

her, and taking her to church.40 She explains how she admires him and that he has

always sacrificed and fought for his family.41 Mr. Artiles Taveras’s only desire is to

reunite with his family so that he can continue to be the loving and supportive husband

and father they deserve.

        Mr. Artiles Taveras’s hard work and dedication have also been clear during his

time at Wyatt Detention Facility. During his pre-sentence detention, Mr. Artiles-Taveras

has done more rehabilitative and actual work than most would do throughout the

course of a five-year sentence. Robert Gaul, the unit manager at Wyatt Detention

Facility wrote a letter in support of Mr. Artiles Taveras, specifically commending his

superb work ethic and his dedication to improving himself while he is detained: “He

has participated in various Educational Classes, Mental Health Courses & Vocational

Training.42 He had achieved various certificates from the facility . . . [he] attends church

services in the facility to improve himself.”43 Mr. Gaul notes that Mr. Artiles Taveras is

“a very respectful person” who is “willing to do whatever he is ask [sic] of him at any

time of day.”44



39
   Id.
40
   See Exhibit 8, letter from Velmarie Santana, step-daughter of Juan Artiles-Taveras (May 26, 2022).
41
   Id.
42
   See Exhibit 1, letter from Robert Gaul, Unit Mgr. at Wyatt Detention Facility (Feb. 18, 2021).
43
   See id.
44
   See id.
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       Moreover, Mr. Artiles Taveras has an incredible work ethic, not only

volunteering as a Unit Pod Worker doing cleaning and painting of the unit, but

volunteering for additional duties as well. He has been a Captain Crew worker since

May 2021. Mr. Gaul describes Mr. Artiles Taveras as an “exceptional worker” with

“strong dedication,” who has “worked long hours and at times 7 days a week Day &

Night in facility to ensure that cleaning and sanitation is maintained during this

pandemic.”45 Mr. Artiles Taveras is a “great hard worker” who, even in difficult

pandemic conditions, was willing to clean and sanitize the unit, and worked lengthy

hours “without any complain [sic] & hesitation,” “especially when others did not want

to assist.”46

       It is worth noting that Mr. Artiles Taveras has achieved these accolades during a

period of incarceration unlike any period in recent history. The COVID-19 pandemic

wreaked havoc on the world, and men in prison felt particularly harsh consequences.47

His work was selfless and telling. And despite lacking even a single disciplinary report,

he has spent more time in difficult solitary conditions than most would during a multi-

year sentence, all to preserve his medical safety.

       In additional to all these factors which suggest rehabilitation and deterrence have

been satisfied and are certainly accomplished by the proposed 37-month sentence, there

is also evidence demonstrating that prison may actually heighten the risk of




45
   See id.
46 See id.
47 https://www.unodc.org/documents/commissions/Congress/special_events/Special_Event_-

_COVID-19_and_prisons_concept_note.pdf. Last accessed June 23, 2022.
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recidivism.48 “The rapid growth of incarceration has had profoundly disruptive effects

that radiate into other spheres of society. The persistent removal of persons from the

community to prison and their eventual return has a destabilizing effect that has been

demonstrated to fray family and community bonds, and contribute to an increase in

recidivism and future criminality.”49

     A 37-month sentence for Mr. Artiles-Taveras is warranted by his personal
     characteristics and is consistent with other sentences in the District.

        The Court must also consider the need to avoid unwarranted disparities among

similar offenders. 18 U.S.C. § 3553(a)(6). However, this preference is not to avoid all

disparities at all costs. Rather, it is to avoid unwarranted disparities; disparity remains

an ameliorative tool to adjust the guidelines because “[f]air sentencing is individualized

sentencing.”50

        Statistics show over and over that giving more time for drug crimes exacerbates

rather than mitigates the problem of drug trafficking. Research on legislation around

the crack cocaine epidemic, both on the Anti-Drug Abuse Act of 1986 and the Fair

Sentencing Act of 2010, demonstrates that heavy-handed sentencing schemes do not

reduce harm based on use or sales and have an inverse relationship to the goals of

sentencing.51


48 See e.g., The Sentencing Project, Incarceration and Crime: A Complex Relationship, 7 (2005)
49 Id. at 7. (footnote and citation omitted).
50
   U.S. Sentencing Commission, Fifteen Years of Sentencing, (Nov., 2004)
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-projects-and-
surveys/miscellaneous/15-year-study/15_year_study_full.pdf (last accessed June 23, 2022).
51
   See, e.g.,Lauryn Saxe Walker & Briana Mezuk, Panel Paper: Mandatory Minimum Sentences: The Impact on
Crack and Powder Cocaine Use, APPAM DC Regional Student Conference (2017),
https://appam.confex.com/appam/sc17dc/webprogram/Paper19844.html (assessing the impact of the
Anti-Drug Abuse Act of 1986 and the Fair Sentencing Act of 2010 on crack-cocaine use, and finding no
differential impact). See also USSC, Report to the Congress: Impact of the Fair Sentencing Act of 2010, 11-12, 27
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        A sentence of 37 months follows the District and Circuit norms: departing

downward and varying downward even more often than the national average, and

rarely exceeding the minimum range set by the guidelines. In the District of

Massachusetts, the majority of cases are below the guidelines.52 On a national level, the

majority of sentences are within the guideline range.53

        Offense-specific trends also reflect the notion that less time is more appropriate.

Data from the United States Sentencing Commission shows that many sentencing

courts, but especially in the District of Massachusetts, find the guidelines unreasonable

for nonviolent drug trafficking crimes. The national and First Circuit data especially

reflects the operation of a mandatory minimum rather than the appropriateness of

harsh sentencing regimes for drugs. Nationally, the average sentence for a drug

trafficking crime is 74 months, and the mean is 60 months.54 In the First Circuit, the

average sentence and the median sentence are 61 and 60 months respectively.55 For the

District of Massachusetts, the mean is 50 months and the median is 37 months.56 Thus,

Mr. Artiles Taveras’s proposed sentence of 37 months is tailored to the typical sentence



(2015) (finding that half as many individuals were sentenced in 2014 in the federal system as had been in
2010; that crack-cocaine represented the most commonly-sentenced drug in only 9 federal districts in
2014, down from 36 districts in 2010; and that passage of the Act did not disrupt the ongoing decline of
crack-cocaine users according to survey data).
52
   See United States Sentencing Commission, Statistical Information Packet, Fiscal Year 2021: District of
Massachusetts, https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-
sentencing-statistics/state-district-circuit/2021/ma21.pdf (last accessed June 23, 2022).
53
   Id.
54
    See United States Sentencing Commission, Statistical Information Packet, Fiscal Year 2021: First Circuit, 11
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
statistics/state-district-circuit/2021/1c21.pdf (last accessed June 23, 2022).
55
   Id.
56
   See United States Sentencing Commission, Statistical Information Packet, Fiscal Year 2020: First Circuit, 11
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
statistics/state-district-circuit/2021/1c21.pdf (last accessed Sep. 21, 2021)
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for this type of crime locally. Any “disparity” amongst similarly situated defendants

can be justified by his personal characteristics, such as his status as the primary

breadwinner for a large family and his recommitment to honest work. Mr. Artiles

Taveras has fully accepted responsibility for his actions, which are truly an anomaly on

his spotless record. Therefore, a sentence of 37 months will not create an unwarranted

disparity, in compliance with § 3553(a)(6).

        Mr. Perez-Garcia, co-defendant who played a more substantial role in planning

and executing the transaction, according to the PSR, received a sentence of 57 months.57

In fact, according to the PSR, Mr. Perez-Garcia spent more than a year communication

with the CW to create the transaction.58

        Finally, as the First Circuit made clear in United States v. Hercules,59 this Court can

consider the eventual deportation of Mr. Artiles Taveras as part of its analysis under §

3553. Mr. Artiles Taveras will be sent to a place he has not called home since childhood,

nearly 30 years ago. He will be away from his family, and its robust support system. He

will inevitably attempt to regain his role as provider, but this time from a place he has

never worked and in an economy that has a cost of living that is a fraction of that in

New Jersey, where his young (citizen) children will reside.60

                                               Conclusion




57 PSR ¶¶ 11-23.
58
   PSR ¶P 13-24, noting Perez-Garcia’s yearlong efforts to arrange a deal.
59 United States v. Hercules, 947 F.3d 3 (2020).
60 https://livingcost.org/cost/dominican-republic/united-states last accessed June 23, 2022. Cost of

living in DR is 62% less than in the United States. The average after-tax salary in the United States covers
living expenses in the US for 2 months, while the average salary in the Dominican Republic covers just .4
months of living.
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       Mr. Artiles Taveras is a humble, hard-working, family man who wants the

chance to rebuild his life in a safe place. While he committed a crime and exacerbated

his crime with his flight, it was a drop of a lapse of judgment in a sea of law-abiding,

peaceful behavior. To this day, he remains dedicated to his family and providing for

them, hopeful that this Court will give him the chance to show he is the person all

observers say he is. This moment in his life is a crucial crossroads in Mr. Artiles

Taveras’s redemption story, and the Court can grant him the opportunity to live that

story by sentencing him to 37 months.




                                          Respectfully Submitted,
                                          Juan Artiles-Taveras
                                          By and through counsel

Date: June 23, 2022                       /s/ Leonard E. Milligan III
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                             CERTIFICATE OF SERVICE
       I, Leonard E. Milligan III, himeby certify that this document filed through the
CM/ECF system will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing and paper copies will be sent to those indicated as
non-registered participants on this date.


      Date: June 23, 2022                   /s/Leonard E. Milligan III
                                            Leonard E. Milligan III
